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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CRISTOSAL HUMAN RIGHTS et al.,

       Plaintiffs,

       v.
                                                             Civil Action No. 25-857
PETER MAROCCO et al.,

               Defendants.


            MOTION OF CONSTITUTIONAL ACCOUNTABILITY CENTER
            FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Amicus curiae Constitutional Accountability Center respectfully moves for leave to file the

attached brief in support of Plaintiffs’ motion for a preliminary injunction. In support of this

motion, amicus states:

       1.      Constitutional Accountability Center (CAC) is a think tank and public interest law

firm dedicated to fulfilling the progressive promise of the Constitution’s text and history. CAC

works to improve understanding of the Constitution and accordingly has an interest in this case.

       2.      CAC has filed amicus briefs in the Supreme Court and other courts addressing

Congress’s plenary power of the purse, including its control over spending and the appropriations

process. See, e.g., Brief of Professors of History and Constitutional Law as Amici Curiae in

Support of Petitioners, CFPB v. Cmty. Fin. Servs. Ass’n of Am., No. 22-448 (U.S. filed May 15,

2023); Brief of Amici Curiae Members of Congress in Support of Plaintiffs-Appellees, City and

County of San Francisco v. Barr, No. 18-17308 (9th Cir. filed May 29, 2019); Brief of

Constitutional Accountability Center as Amicus Curiae in Support of Plaintiffs-Appellees, New


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York v. Trump, No. 25-1236 (1st Cir. filed March 17, 2025); Brief of Constitutional Accountability

Center as Amicus Curiae in Support of Plaintiffs’ Motion for Preliminary Injunction, AIDS

Vaccine Advoc. Coal. v. U.S. Dep’t of State, No. 25-cv-400 (D.D.C. filed Feb. 19, 2025).

Accordingly, CAC has developed expertise relevant to the issue of impoundment of federal

funding, and its brief provides a unique historic perspective and more detail on certain issues than

the parties can provide.

       3.      This Court has “broad discretion” in deciding whether to allow the filing of amicus

curiae briefs. Nat’l Ass’n of Home Builders v. U.S. Army Corps of Eng’rs, 519 F. Supp. 2d 89, 93

(D.D.C. 2007). “The filing of an amicus brief should be permitted if it will assist the judge ‘by

presenting ideas, arguments, theories, insights, facts or data that are not to be found in the parties’

briefs.’” N. Mariana Islands v. United States, No. 08-1572, 2009 WL 596986, at *1 (D.D.C. Mar.

6, 2009) (quoting Voices for Choices v. Ill. Bell Tel. Co., 339 F.3d 542, 545 (7th Cir. 2003)); In re

Search of Info. Associated with [redacted]@mac.com, 13 F. Supp. 3d 157, 167 (D.D.C. 2014)

(same). Courts have permitted third parties to participate as amici curiae when they “are of aid to

the court and offer insights not available from the parties,” United States v. El-Gabrowny, 844 F.

Supp. 955, 957 n.1 (S.D.N.Y. 1994), and when they have “relevant expertise and a stated concern

for the issues at stake in [the] case,” District of Columbia v. Potomac Elec. Power Co., 826 F.

Supp. 2d 227, 237 (D.D.C. 2011). “The primary role of the amicus is to assist the Court in reaching

the right decision in a case affected with the interest of the general public.” Russell v. Bd. of

Plumbing Exam’rs., 74 F. Supp. 2d 349, 351 (S.D.N.Y. 1999); see Nat’l Ass’n of Home Builders,

519 F. Supp. 2d at 93 (granting leave to file because “the court may benefit from [the amicus]’s

input”); Potomac Elec. Power Co., 826 F. Supp. 2d at 237 (same); Microsoft Corp., 2002 WL

319366, at *3 (same).



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       4.      The proposed, attached amicus curiae brief satisfies these standards. The attached

brief explains that the Framers of the Constitution, seeking to mitigate the risk of a tyrannical

President, vested control of appropriations and spending in Congress. The brief also explains that,

in exercise of that broad power, Congress has for centuries passed legislation jealously guarding

its constitutionally assigned power of the purse and pushing back against executive branch

attempts to encroach on that power. Finally, the brief explains that longstanding precedent and

practice affirm that the executive branch has no authority to defy the will of Congress by refusing

to execute duly enacted laws requiring the disbursement of federal funding.

       5.      Plaintiffs consent to the filing of this brief. As of the time of this filing, counsel for

Defendants has not yet entered an appearance in this case. However, amicus contacted counsel of

record in the related case, 25-cv-778, to seek consent, but counsel has not responded to that inquiry.

       For the foregoing reasons, leave to file the attached amicus curiae brief should be granted.

A proposed order is attached to this motion.

                                               Respectfully submitted,

Dated: March 24, 2025                          /s/ Brianne J. Gorod
                                               Brianne J. Gorod

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on March 24, 2025, the foregoing document and all attachments were

filed with the Clerk of the Court, using the CM/ECF system, causing them to be served on all

parties.

Dated: March 24, 2025
                                               /s/ Brianne J. Gorod
                                               Brianne J. Gorod
                                               Counsel for Amicus Curiae
